UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
 ALEC FABER, individually and on behalf of all others
 similarly situated; and AHNAF RAHMAN, individually
 and on behalf of all others similarly situated,
                                                                       Civil Action No.
                                                                       3:20-cv-00467 (MAD/ML)
                        Plaintiffs,

         v.

 CORNELL UNIVERSITY,

                        Defendant,


                       PLAINTIFFS’ DISCOVERY STATUS REPORT

       Plaintiffs Alec Faber and Ahnaf Rahman (“Plaintiffs”) respectfully submit this status report

pursuant to the Court’s August 26, 2021 Text Order (Dkt. No. 88).

       This status report provides the Court with an extensive update regarding Defendant Cornell

University’s (“Defendant”) document production and deficient discovery responses.

         A. Meet and Confer Efforts.

       Despite multiple hours of intense personal discussion via Zoom teleconference calls,

Defendant has refused to make any meaningful concessions with respect to its deficient discovery

responses. Accordingly, Plaintiffs do not believe that any further consultation among the parties

would be beneficial and reluctantly submits that judicial intervention will be required. Specifically,

the parties have been unable to reach any agreement regarding even the broad and general disputes

addressed below.

         B. Defendant’s Excessive and Non-Specific Boilerplate Objections

       It is Plaintiffs’ position that, unfortunately, at this time, Defendant’s discovery responses

are so incomplete and evasive, that meaningful progress cannot be made to resolve the discovery

dispute, even with assistance from the Court. By way of example, Defendant has lodged 10
“general objections” to Plaintiffs’ Interrogatories and 18 “general objections” to Plaintiffs’

Requests for Production. Defendant has “incorporated” these general objections into every

response.      Further, Defendant has lodged a number of additional non-specific boilerplate

objections in prelude to each and every response. There is not a single Interrogatory or Request

for Production propounded by Plaintiffs to which Defendant has not objected.

          Although Plaintiffs seek to avoid arguing the specific issues in this Status Report, they

offer Interrogatory Number 1 as a general example. Plaintiffs’ Interrogatory Number 1 asks

simply:

          Identify all persons who participated in answering or providing any information or
          documents used to respond to Plaintiffs’ Interrogatories and Requests for
          Production of Documents, and for each such person indicate the specific
          Interrogatories and/or Requests for Production to which he/she contributed
          information or documents.

          While this is a standard Interrogatory propounded in nearly every case, Defendant lodges

no less than 10 “general objections” and specific objections including “to the extent it seeks

information that is protected by attorney-client privilege.” When pressed during the meet and

confer conference,1 Defendant could not articulate how responding to this Interrogatory would

ever implicate attorney-client privilege.        Nonetheless, Defendant refused to withdraw this

objection. This is but one of many examples.

          Plaintiffs anticipate that if they are required to file a Motion to Compel, a large part of the

Motion will be dedicated towards Defendant’s excessive and non-specific boilerplate objections.

To make matters worse, Defendant does not indicate (throughout its responses) whether it is

actually withholding any information pursuant to these objections. Instead, Defendant merely

provides some response “notwithstanding” the objection. Such objections make it difficult for



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    Indeed, counsel discussed this single issue for at least 30 minutes.
                                                    2
Plaintiffs to even narrow and identify the issues that require Court intervention because it is

impossible for Plaintiffs to even know whether they have received complete responses or not. See,

e.g., Curtis v. Time Warner Entertainment-Advance/Newhouse Partnership, Case No. 3:12-cv-

2370-JFA, 2013 WL 2099496 (D.S.C. May 14, 2013)(“Such an objection and answer

[“notwithstanding”] preserves nothing and serves only to waste the time and resources of both the

parties and the court. Further, such practice leaves the requesting party uncertain as to whether the

question has actually been fully answered or whether only a portion of the question has been

answered.”) citing Civil Discovery Standards, 2004 A.B.A. SEC. LIT. 18.); See, also, Fischer v.

Forrest, Case No. 14-cv-1304-PAE-AJP, 2017 WL 773694 (S.D.N.Y. Feb. 28, 2017)(“An

objection must state whether any responsive materials are being withheld on the basis of that

objection”).

         C. Defendant’s Deficient Document Production

       Plaintiffs anticipate addressing additional and overlapping issues with respect to

Defendant’s document productions (or lack thereof) to date.

       Plaintiffs will show that the same issue with respect to non-specific boilerplate objections

pervades. For example, “general objection” 6 in Defendant’s responses to Plaintiffs’ Requests to

Produce (which are incorporated into every response) Defendant states:

       By stating that Cornell will produce documents that are non-privileged and
       responsive to a particular Request, Cornell does not represent that any such
       documents exist. Rather, Cornell responds only to the extent that, if such
       documents are, or have been, located after a reasonable search, they will be
       produced for inspection, pursuant to rule and law.

Here, it is impossible for the Court to even decipher what discovery requests Defendant has or has

not answered. Pursuant to the extensive meet and confer process, Defendant has continued to

refuse to withdraw this qualifier.



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       In any event, Defendant has produced almost no documents at all, save for a few excerpts

from Defendant’s website and portions of Defendant’s Course Catalog. Defendant has admitted

(both to the court and to Plaintiffs’ counsel) that it has additional responsive documents to produce

and for which no objections apply (even though they have been amply lodged). During the most

recent status conference, Defendant excused the failure to produce these documents by asserting

that they were being produced “on a rolling basis.”2 However, Defendant, throughout the meet and

confer process, has refused to articulate when such future “rolling” productions would be made.

See Fischer, 2017 WL 773694 (“[R]esponses to discovery must…[s]pecify the time for production

and, if a rolling production, when production will begin and when it will be concluded.”).

         D. Plaintiffs’ Proposed Resolution Process

    As addressed above, Plaintiffs believe that Defendant’s responses to date are so evasive and

incomplete as to render briefing on specific Motions to Compel meaningless at this time. There is

simply not enough information to allow Plaintiffs to address Defendant’s responses with concise

specificity. Any attempt to engage in such an exercise at this point would only serve to waste

judicial resources. Instead, Plaintiffs propose the following path to resolution:

       1. The Court should issue a general Discovery Order requiring all parties to amend and/or

supplement their responses so as to comply with the order, setting a deadline to so comply. This

can be accomplished without briefing or argument and is consistent with the Federal Rules of Civil

Procedure and applicable caselaw throughout the country. Plaintiffs believe 7 days from the

issuance of such order would be a sufficient deadline. Plaintiffs propose an Order substantially

similar to that set forth in Curtis v. Time Warner Entertainment-Advance/Newhouse Partnership,



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  It should be noted that Fed R. Civ. P. 34 does not automatically provide for producing
documents already in a party’s possession “on a rolling basis,” and that neither the Plaintiffs nor
the Court have been consulted on or approved of the same.
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Case No. 3:12-cv-2370-JFA, 2013 WL 2099496 (D.S.C. May 14, 2013) [Attached as Exhibit A].

Likewise, the Order should prohibit the incorporation of “general objections.” Plaintiffs are

willing to prepare and circulate a draft of such an order.

       2. The Court should set a deadline by which Defendant is required to complete its “rolling

production” of those documents already and currently within its possession or control. Plaintiffs

believe 21 days from the issuance of such order would be a sufficient deadline.

       3. The Court should set a deadline for the parties to meet and confer regarding any

remaining disputes once the above-mentioned responses are amended and documents produced.

       4. Finally, only after the above steps are completed, would it be beneficial for the Court to

set a briefing schedule or entertain arguments on any Motions to Compel specific deficiencies.

         E. Proposed Dates and Times for Motion to Compel Hearings

   As stated above, Plaintiffs do not believe that it would be in the interest of judicial economy

to entertain motions to compel specific responses at this time, or, for that matter, hold hearings on

the same. There are simply too many big picture, general issues unresolved to make such

proceedings productive at this time. Instead, Plaintiffs believe it would be more efficient to resolve

the general issues at this point through a standing discovery order, and for the parties to come

before the Court at at later date with any specific disputes once such specific disputes can be

identified and conferred upon between the parties.          Nonetheless, pursuant to the Court’s

instructions, all counsel have conferred and can be available to attend in-person hearings at the

following dates and times should the Court so order:

   1. October 8, 2021 – Any time

   2. October 12, 2021 – Any time

   3. October 19, 2021 – Any time



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  4. October 22, 2021 – Any time

      Respectfully Submitted,

      This 3rd Day of September, 2021

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